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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF IOWA
                          EASTERN DIVISION


STARBUCKS CORPORATION,

       Plaintiff,

       v.                                     Civil Action No. ___________

SERVICE EMPLOYEES                                       COMPLAINT
INTERNATIONAL UNION d/b/a
WORKERS UNITED, d/b/a
STARBUCKS WORKERS UNITED,                        JURY TRIAL DEMANDED
and IOWA CITY STARBUCKS
WORKERS UNITED,

       Defendants.




      Plaintiff Starbucks Corporation (“Starbucks” or “Plaintiff”), by its

undersigned attorneys, hereby alleges by way of this Complaint against Defendants

Service Employees International Union (“SEIU”) d/b/a Workers United, d/b/a

Starbucks Workers United (“SBWU”), and Iowa City Starbucks Workers United

(“Iowa City SBWU”) (collectively, “Defendants”) the following:

                             NATURE OF THE ACTION

      1.     This is an action concerning the actual and threatened injury to the

safety, well-being, operations, and reputation of Starbucks and its employees caused
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by Defendants’ inflammatory and misleading communications, which have led,

among other things, to property damage, threats, and calls for a boycott against

Starbucks. Most notably, and of most urgency to Starbucks, this action concerns

Defendants’ social media posts in support of violence in Israel starting immediately

after reports emerged that Hamas had attacked civilians in Israel, and the substantial

resulting reputational and other business harm these statements have caused and, if

not enjoined, will continue to cause to Plaintiff.

         2.   In communicating their own messages about these and a wide range of

other topics, Defendants have ubiquitously used the Starbucks name and other

identifying symbols to identify themselves. Viewing the parties as one and the same

because the Defendants have adopted the Starbucks name and logos as their own,

Customers misled and confused over the source or endorsement of the statements

put out by Defendants direct their reactions to Starbucks. Statements by Starbucks

attempting to distinguish itself from Defendants and their positions have been to no

avail.

         3.   In this action, Starbucks asserts claims for dilution arising under 15

U.S.C. § 1125(c) and Iowa Code § 548.113, trademark infringement arising under

15 U.S.C. § 1114, trademark infringement, false affiliation, unfair competition, false

designation of origin arising under 15 U.S.C. § 1125(a) and Iowa Code §§ 548.112


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and 548.116, copyright infringement arising under 17 U.S.C. 101 et seq., and

contributory infringement.      These claims arise directly from Defendants’

unauthorized and repeated instances of copying and use of Starbucks trademarks and

copyrighted works, in violation of state and federal law, which have damaged

Starbucks reputation and business, weakened the distinctive quality of Starbucks

trademarks, and infringed Starbucks rights in its intellectual property.

                                     PARTIES

      4.     Starbucks is a corporation formed under the laws of the State of

Washington, with its principal place of business located in Seattle, Washington.

      5.     SEIU is an organization, headquartered in Washington, D.C., with

activities throughout the United States. Upon information and belief, SEIU does

business as and controls Workers United and SBWU.

      6.     Upon information and belief, Workers United, an affiliate of SEIU, is

an organization whose members include various groups of employees throughout

the country. According to its website, https://workersunited.org/, Workers United is

located in Philadelphia, Pennsylvania, with joint board located throughout the

United States.

      7.     Upon information and belief, SBWU, an affiliate of SEIU working

under the leadership of Workers United, is a membership organization comprising


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certain Starbucks employees from select stores from around the country. According

to its website, https://sbworkersunited.org/, it is located in Buffalo, New York, “and

Everywhere in the United States.” Upon information and belief, SBWU has dozens

of local chapters based out of multiple states and cities, including Iowa, Maryland,

California, Florida, Texas, Massachusetts, Arizona, Illinois, and New Jersey, among

many others.

      8.     Upon information and belief, Iowa City SBWU, a local chapter of

SBWU, is an organization located in Iowa City, Iowa, associated with Starbucks

store number 2855, and operating in the state without a certificate of authority.

                         JURISDICTION AND VENUE

      9.     This action involves federal claims arising under the United States

Trademark Act of 1946 (Lanham Act), 15 U.S.C. § 1051 et seq. and United States

Copyright Act, 17 U.S.C. § 101 et seq. This Court therefore has subject matter

jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338, and 15 U.S.C.

§ 1121(a).

      10.    This Court has supplemental jurisdiction over the related state law

claims in this action under 28 U.S.C. § 1367(a) as those claims are so related to the

claims under federal law so as to form part of the same case or controversy.




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      11.    The Court has personal jurisdiction over Defendants because, on

information and belief, Defendants have specific contacts with, and/or are engaged

in business practices in this judicial district arising from the use of marks and works

in commerce, marketing, advertising, sale, and offering to sell or provide goods

and/or services, which marks and works dilute and infringe Starbucks famous and

federally-protected trademarks and infringe its federally-protected copyrighted

works. Defendants have committed acts of trademark infringement and false

affiliation under federal and state law, trademark dilution under federal and state

law, copyright infringement under federal law, and contributory infringement.

      12.    Venue in this district is appropriate under 28 U.S.C. §§ 1391(b) and

1391(c) because a substantial part of the events or omissions giving rise to the claim

occurred in this District.

                                 BACKGROUND

                                 Starbucks History

      13.    Starbucks is the leading coffee roaster and retailer in the United States.

Since 1971, when Starbucks opened its first store, Starbucks has grown to over

17,000 United States retail locations and approximately 37,000 retail locations in

over 80 foreign countries and territories.




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      14.    Starbucks retail stores throughout the United States sell coffee, tea, and

other food and beverages, as well as Starbucks-branded merchandise, such as coffee

mugs, glassware, coffee-related equipment, and other products. This merchandise

prominently displays Starbucks-owned trademarks, service marks, and copyrighted

works (the “Starbucks Marks” and “Starbucks Works,” respectively), as seen in the

examples below:




      15.    Starbucks retail stores throughout the world conduct billions of

transactions each year. In addition to retail stores, Starbucks promotes its products

and services on its website Starbucks.com. Both the Starbucks Marks and Starbucks

Works are displayed prominently on the Starbucks.com website.

      16.    In addition to directly selling its products in its own retail stores,

Starbucks also serves its coffee and other products through authorized parties

(“Authorized Sellers”) throughout the United States. These Authorized Sellers

include, but are not limited to, bookstores, grocery stores, airports, restaurants, and
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entertainment venues. Starbucks licenses the Starbucks Marks and Starbucks Works

under one or more license agreements to the Authorized Sellers. The license

agreements ensure that Starbucks products are only distributed through Authorized

Sellers who must adhere to Starbucks quality control procedures and standards. By

controlling distribution of Starbucks products and services, Starbucks monitors and

controls the use of the Starbucks Marks and Starbucks Works.

      17.   Starbucks maintains its own official social media accounts, including,

but not limited to, a Facebook page (www.facebook.com/Starbucks), an X (formerly

known as Twitter) account (www.twitter.com/Starbucks), an Instagram page

(www.instagram.com/Starbucks), a TikTok account (www.tiktok.com/@starbucks),

and a LinkedIn page (www.linkedin.com/company/Starbucks). The Starbucks

Facebook page has more than 35 million followers and 36 million likes. The

Starbucks X account has over 10.9 million followers. All of these platforms

prominently feature the Starbucks Marks.

      18.   Starbucks diligently monitors all of its official distribution channels to

ensure compliance with its policies and standards to manage the brand’s image and

public perception.

      19.   Numerous television programs and movies have prominently featured

the Starbucks Marks, including Zoolander, The Devil Wears Prada, Sex and the City,


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Parks & Rec, The Voice, Ellen, Real Time, License to Wed, The Proposal, Clueless,

127 Hours, Jurassic World, You’ve Got Mail, Austin Powers: The Spy Who Shagged

Me, Fight Club, The Terminal, Josie and the Pussy Cats, Miss Congeniality,

Clueless, Made of Honor, Meet the Fockers, 13 Going on 30, In Good Company,

and I Am Sam.

      20.    Brand studies routinely place Starbucks among the most recognized

and valuable brands in the world. For example, in its 2023 study, BrandZ ranked

Starbucks as the 27th Most Valuable Brand in the World, ranked in between famous

brands like T-Mobile and Walmart, and above well-recognized brands like

YouTube, Netflix, and The Walt Disney Company. As another example, the 2023

“Restaurants 25” report from an independent brand valuation consultancy, Brand

Finance, Starbucks was ranked the number one most valuable restaurant brand in the

world.

      21.    As a result of the foregoing sales and marketing activities, the Starbucks

Marks have become famous and highly distinctive trademarks with an unmatched

reputation of excellence.

                     Starbucks Trademarks and Copyrights

      22.    For decades, Starbucks has continuously used its famous and highly

distinctive marks, including the STARBUCKS word mark, which has been used


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since Starbucks was founded in 1971, as well as the famous Siren Logo (used since

1992) and the more recent 40th Anniversary Siren Logo (used since 2011) (shown

collectively below) in United States commerce in connection with a wide variety of

goods and services to promote Starbucks brand and to identify its goods and services.

The United States Patent and Trademark Office has granted dozens of trademark

registrations for the Starbucks Marks, as further detailed below. Additionally, the

Starbucks Marks have been registered in over 180 countries.




      23.    These registrations recognize the exclusive rights held by Starbucks in

the world-famous Starbucks Marks.

      24.    Starbucks owns multiple trademark registrations in the Siren Logo.

These registrations include, but are not limited to, U.S. Trademark Registration Nos.

1,542,775 (registered June 6, 1989) in connection with “[r]estaurant services

featuring coffee and espresso beverages and also serving sandwiches and

breakfasts”; 1,815,938 (registered January 11, 1994) in connection with, inter alia,
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“[n]on electric coffee makers, insulated cups, reusable non paper coffee filters, non

paper coasters, thermal insulated bottles, and housewares; namely, coffee cups, non

electric coffee pots not of precious metal, cups, mugs, dishes, trivets, and canisters,”

“ground and whole bean coffee,” and “retail store services featuring [coffee],” and

“restaurant and café services”; 2,028,943 (registered January 7, 1997) in connection

with “[t]-shirts, polo shirts, sweatshirts, caps, hats, jackets, [shorts] and aprons”;

2,176,976 (registered July 28, 1998) in connection with “electrical appliances,

namely, espresso makers and coffee makers for domestic and commercial use”;

3,298,945 (registered September 25, 2007) in connection with, inter alia, “[c]offee,

. . . prepared coffee and coffee-based beverages; prepared espresso and espresso-

based beverages”; 3,673,335 (registered August 25, 2009) in connection with

“[d]airy-based food beverages”; and 1,943,361 (registered December 26, 1995),

2,120,653 (registered December 9, 1997), and 3,428,127 (registered May 13, 2008)

in connection with a variety of goods and services. These registrations are valid and

subsisting. True and correct copies of the registration certificates are attached hereto

as Exhibit 1.

      25.       Starbucks owns multiple trademark registrations of the Siren Logo in

the familiar green, black, and white color scheme. These registrations include, but

are not limited to, U.S. Trademark Registration Nos. 1,815,937 (registered January


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11, 1994) in connection with, inter alia, “ground and whole bean coffee,” “cups,

mugs, dishes, trivets, and canisters” and “retail store services featuring [coffee],”

and “restaurant and café services”; 2,266,351 (registered August 3, 1999) in

connection with, inter alia, “ground and whole bean coffee,” “coffee . . . and

espresso beverages, and beverages made with a base of coffee and/or espresso”;

2,266,352 (registered August 3, 1999) in connection with, inter alia, “[r]estaurant,

cafe and coffee house services”; 2,325,182 (registered March 7, 2000) in connection

with, inter alia, “retail outlets . . . featuring ground and whole bean coffee[,] . . .

coffee and espresso beverages and beverages made with a base of coffee, espresso,

and/or milk;” “coffee cups, tea cups, mugs, glassware, dishes, plates and bowls”;

and “toys; books;” . . . and [t]-shirts, caps, sweatshirts, jackets, aprons and other

clothing items”; and 1,893,602 (registered May 9, 1995) and 3,428,128 (registered

May 13, 2008), in connection with a variety of goods and services. These

registrations are valid and subsisting. True and correct copies of the registration

certificates are attached hereto as Exhibit 2.

      26.    Starbucks owns United States Copyright Reg. No. VA 875-932 for the

Starbucks Siren Logo. A true and correct copy of the copyright registration

certificate for this work is attached hereto as Exhibit 3.




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       27.    Starbucks owns multiple trademark registrations in the 40th

Anniversary Siren Logo. These registrations include, but are not limited to, U.S.

Trademark Registration Nos. 4,415,862 (registered October 8, 2013) in connection

with a variety of goods and services, including “paper boxes and paper packaging”

and “paper cups, non-electric milk frothers; scoops”; 4,538,053 (registered May 27,

2014), in connection with, inter alia, “[h]and operated coffee grinders and coffee

mills, insulated coffee and beverage cups, non-paper coasters, insulated vacuum

bottles, coffee cups, tea cups and mugs, glassware, dishes, plates and bowls, trivets,

storage canisters, non-electric drip coffee makers, non-electric plunger-style coffee

makers, and decorative storage containers for food, non-electric tea kettles, tea

infusers, tea pots, tea strainers, ceramic figurines, porcelain figurines; paper cups

and insulated sleeves for beverage cups,” “[e]lectrical appliances, namely espresso

makers and coffee makers for domestic or commercial use,” “milk based beverages,”

“coffee . . . and espresso beverages, . . . beverages made with a base of coffee and/or

espresso,” “retail store services in the field of coffee,” and “café, . . . coffee bar . . .,

carry out restaurant services, . . . coffee supply services for offices,” “stationary,

posters, paper napkins, paper coasters, paper bag,” and “retail store services in the

field of . . . clothing, caps and hats, toys . . . and accessories therefor”; computerized

on-line ordering services all in the field of . . . jewelry, clothing, caps, hats, toys . . .


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and accessories thereof,”; and 4,639,908 (registered November 18, 2014) in

connection with a variety of goods and services, including “[t]-shirts, polo shirts,

sweatshirts, caps, hats, jackets, aprons and vests,” “[t]oys,” and “jewelry.” These

registrations are valid and subsisting. True and correct copies of the registration

certificates from the USPTO website are attached hereto as Exhibit 4.

      28.    Starbucks owns multiple trademark registrations for the 40th

Anniversary Siren Logo in the familiar green and white color schemes. These

registrations include, but are not limited to, U.S. Trademark Registration Nos.

4,538,585 (registered May 27, 2014) in connection with, inter alia, “paper cups, non-

electric milk frothers; scoops”; 4,572,688 (registered July 22, 2014), in connection

with, inter alia, “stationary, posters,” “insulated coffee and beverage cups, . . .

glassware, . . . storage canisters, . . . ceramic figurines, porcelain figurines,” “[t]-

shirts, polo shirts, sweatshirts, caps, hats, jackets, shorts,” “business administration;

business management; franchising,” “coffee . . . and espresso beverages, . . .

beverages made with a base of coffee and/or espresso,” “retail store services” and

“computerized on-line [retail and] ordering services in the field of coffee, . . . jewelry

. . . clothing, caps and hats, toys,” and “café, . . . coffee bar . . . , and carry out

restaurant services, . . . coffee supply services for offices”; and 4,635,864 (registered

November 11, 2014), in connection with a variety of goods and services, including


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“jewelry,” “[t]-shirts, polo shirts, sweatshirts, caps, hats, jackets, aprons and vests,”

and “toys.” These registrations are valid and subsisting. True and correct copies of

the registration certificates from the USPTO website are attached hereto as Exhibit

5.

       29.   Starbucks is the owner of United States Copyright Reg. No. VA 1-768-

520 for the Starbucks 40th Anniversary Siren Logo. A true and correct copy of the

copyright registration certificate for this work is attached hereto as Exhibit 6.

       30.   Starbucks also owns numerous registrations for the STARBUCKS

word mark. These registrations include, but are not limited to, U.S. Trademark

Registration Nos. 1,444,549 (registered June 23, 1987) in connection with “retail

store services and distributorship services for coffee, tea” and “coffee café services”;

2,073,104 (registered June 24, 1997) in connection with, inter alia, “[w]holesale

supply services featuring ground and whole bean coffee, tea, cocoa, coffee and

espresso beverages” and “[r]estaurant, cafe and coffee house services”; 2,086,615

(registered August 5, 1997) in connection inter alia with “ready-to-drink coffee,

ready-to-drink coffee based beverages”; 3,235,732 (registered May 1, 2007) in

connection with “coffee roasting and processing”; 2,180,760 (registered August 11,

1998) in connection with “wallets, billfolds, tote bags, purses, briefcases, book bags,

briefcase-type portfolios, valises and umbrellas, all made of cloth, plastic or leather”;


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2,189,460 (registered September 15, 1998) in connection with, inter alia, “insulated

coffee and beverage cups” and “coffee cups, tea cups and mugs, beverage

glassware”; 2,176,974 (registered July 28, 1998) in connection with “[t]-shirts, polo

shirts, sweatshirts, caps, hats, jackets, and aprons”; 1,452,359 (registered August 11,

1987) in connection with “coffee, tea, herb tea, chocolate and cocoa”; 1,372,630

(registered November 26, 1985) in connection with “coffeepots, cups, mugs and

cannisters.” These registrations are valid and subsisting. True and correct copies of

the registration certificates are attached hereto as Exhibit 7.

      31.       Starbucks devotes a significant amount of time, energy, and resources

into protecting its Starbucks Marks and Starbuck Works. By limiting distribution of

the Starbucks products to channels involving Authorized Sellers, Starbucks

maintains its reputation and integrity, as well as ensures customers’ safety and

satisfaction.

      32.       Because of Starbucks products’ superior quality and exclusive

distribution channels, the public recognizes Starbucks as a source of high-quality

products. As such, Starbucks has developed extraordinarily strong rights in the

famous Starbucks Marks, and those Marks thus are entitled to very broad protection.




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                  Defendants and Defendants’ Wrongful Acts

      33.   Upon information and belief, SBWU, a subset of Workers United, is an

unincorporated association which acts as a collective of Starbucks employees from

approximately 325 company-operated stores throughout the United States (3% of

U.S. company operated stores). SBWU and Workers United are affiliates of SEIU

and SBWU Iowa City is an affiliate located in and operating out of Iowa City, Iowa.

      34.   SEIU, through Workers United and SBWU and others associated with

Workers United, and SBWU Iowa City use the STARBUCKS word mark and

various logos (referred to herein as “Accused Marks”) that copy and/or closely

resemble the Starbucks Marks and Starbucks Works, including the following:




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            Accused Marks                              Starbucks Marks




      35.    SBWU maintains its own website (https://sbworkersunited.org/) and

social media accounts, including an X account (twitter.com/sbworkersunited),

Facebook     account    (facebook.com/sbworkersunited),     Instagram     account

(instagram.com/sbworkersunited)              and        TikTok            account

(tiktok.com/@sbworkersunited).

      36.    SBWU has on innumerable occasions coopted the entirety of each of

the Starbucks Marks and Starbucks Works, including on its website, as its “profile


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picture” on social media accounts, in social media posts, and on various forms of

merchandise, as seen in the examples below:

                                   Facebook page




                                   TikTok Account




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                          Twitter Account




                             Instagram




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                                  Website




     37.   SBWU’s website has a “Shop Official Merch” webpage where it sells

signs, T-shirts, pins, hats, mugs, cups, and masks prominently coopting the

Starbucks Marks and Starbucks Works, as shown in the below examples from the

SBWU website.




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      38.   Iowa City SBWU maintains its own social media accounts, including

an X account (twitter.com/IowaCitySBWU), which prominently displays the

coopted Starbucks Marks and Starbucks Works, as seen below.




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      39.    Iowa City SBWU posts and shares posts about a wide variety of

subjects, including, but not limited to, international affairs, trash collection, rights

for transgender individuals, and local jails.

      40.    Defendants have coopted the entirety of each of the Starbucks Marks

and Starbucks Works for various publicity, advertising, fundraising, and

promotional purposes.

      41.    Given the Accused Marks’ similarities to the Starbucks Marks, the

Accused Marks are likely to convey to consumers a false affiliation, endorsement,

or sponsorship with Starbucks. Indeed, the similarity between the marks has already

caused substantial, demonstrated, and harmful confusion, as discussed further

below.

      42.    Starting October 7, 2023, the day reports emerged of Hamas-led attacks

on Israel, Defendants and their affiliates posted or shared on their official social

media accounts various concerted statements. For example, SBWU posted a Tweet,

using the Starbucks Marks and Starbucks Works, stating “Solidarity with Palestine”

with a picture of the bulldozer tearing down a fence on the Gaza strip during the

attack on Israel on October 7:




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Particularly at that time, when the world had just seen images of assaults on families

and upon a peaceful music festival and heard the reports of deaths from those attacks,

people reacted with outrage at a perceived endorsement of violence.

      43.     Additionally, the same day of the initial attacks in Israel and continuing

even as recently as the day before filing this action, Iowa City SBWU posted and

reposted on social media messages advocating for the continuation of violence

against Israel and cessation of U.S. aid to Israel, including the following:




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      44.    Defendants’ use of Starbucks Marks and Starbucks Works to issue

posts about these topics, which have nothing to do with the terms and conditions of

employment at Starbucks stores, create a strong likelihood that Defendants’

activities will be attributed to Starbucks.

      45.    Affiliates of Defendants, using the Starbucks Marks and Starbucks

Works, have also posted additional inflammatory content that the public has

attributed to Starbucks.

      46.    Such messages, as captured by the posts above, do not, and have never,

reflected Starbucks official position, as noted in Starbucks recent statement on the

matter. See https://stories.starbucks.com/press/2023/starbucks-condemns-acts-of-

terror-strongly-disagrees-with-statements-made-by-workers-united/.

      47.    As a result of the social media posts by Defendants using the Starbucks

Marks and Starbucks Works, Starbucks received hundreds of complaints from

customers and other members of the public in the immediate aftermath, chastising

and singling out Starbucks—not Defendants—for supporting Hamas. Starbucks

continues to receive such complaints as a direct result of the demonstrable consumer

confusion as to responsibility and actual beliefs created by Defendants’ use of

Starbucks Marks. Such complaints vividly illustrate the actual confusion and




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dilution (most notably, in the form of tarnishment) caused by Defendants’ use of the

Starbucks Marks and Starbucks Works.

      48.    On October 11, 2023, an angry customer twice called the Seattle

Starbucks Reserve® Roastery and threatened to “shut down” the roastery and all

Starbucks stores. The caller also said that he hoped the Starbucks employee who

took the call found himself “in a war dying on the frontlines.” Store partners

(employees) have had to respond to other angry customers erroneously attributing

Defendants’ statements to Starbucks.

      49.    On October 13, 2023, a Starbucks store in Rhode Island experienced an

act of vandalism with a swastika painted on the front door and Stars of David painted

on the door and an exterior window.




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      50.   Starbucks customer care has received numerous complaints, including

for example this small sampling:

               “I will never visit Starbucks again. You are supporting Hamas
                terrorists….”
               “You stand with Hamas, I buy my coffee elsewhere. Whatever
                opinion you espouse you will alienate half or more of your
                customers. It amazes me you remain in business.”
               “How dare Starbucks be sympathetic to a terror organization? Was
                your son or daughter murdered? I didn't think so. Shame on you!”
               “Will no longer buy [S]tarbucks products due to your support of
                Palestinian terror!!”
               “After your ‘X’ post in support of baby-beheading, mass-murderous
                Palestinian terrorists, I and my family will never again set foot in a
                Starbucks location for any reason. Your post was utterly despicable
                and disgusting. Goodbye and good riddance.”



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               “I am a long time customer as well as all my family members but [I]
                will be trashing all my [S]tarbucks products and shredding gift cards
                (don’t even deserve to be given away or re-gifting)”
               “Shame on you supporting Hamas, coffee is about coffee, never
                going to be your customer again and I have been loyal for years.”
These complaints as well as a number of other examples are attached hereto as

Exhibit 8. Starbucks partners (employees) working in customer care have

experienced trauma from being subject to these complaints, which have included

personal accusations of supporting genocide and exposure to graphic and violent

photos.

      51.   Public officials also denounced Starbucks as a result of Defendants’

statements. As shown below, Senator Rick Scott (R-FL) made a public statement

shaming Starbucks for supporting a terrorist organization and telling the public to

“Boycott Starbucks”:




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      52.    Further, as a result of Defendants’ statements, Florida State

Representative Randy Fine reshared Senator Rick Scott’s post and added: “If you go

to Starbucks, you are supporting killing Jews.”

      53.    Additionally, customers of Starbucks publicly announced their

boycotting efforts and criticisms of Starbucks, including the following posts. See

also Exhibit 9.




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      54.    Shortly after Defendants’ posts, the hashtag #BoycottStarbucks was

trending on X, and people all over the world were “tweeting” and posting on various

social media accounts, falsely stating that Starbucks supported terrorist

organizations, the killing of innocent civilians, and multiple other things Starbucks

unequivocally condemns.

      55.    Starbucks was compelled to release a public statement regarding the

situation in the Middle East on October 11, 2023, to clarify that the Defendants’

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statements were not made by Starbucks or endorsed by Starbucks. See

https://stories.starbucks.com/press/2023/starbucks-condemns-acts-of-terror-

strongly-disagrees-with-statements-made-by-workers-united/. Starbucks had not

released a public statement prior to October 11. This timeline demonstrates that the

public reaction against Starbucks arose solely from Defendants’ statements.

      56.    Other workers’ organizations have put out statements against Israel, but

the public has not called for boycotts of the respective employers where those

workers’ organizations do not adopt the employers’ names or marks. For example,

the United Electrical, Radio and Machine Workers of America (UE) opposed U.S.

aid to the state of Israel, but the public has not called for a boycott of GE, a principal

employer for members of UE.

      57.    Defendants’ co-opting of the Starbucks Marks continues to cause harm

to Starbucks, as evinced by continued threats against Starbucks despite Starbucks

attempts to clarify its position and disassociate itself from Defendants.

      58.    Defendants’ unauthorized use of the Starbucks Marks and Starbucks

Works have caused and, if allowed to continue, will continue to cause Starbucks to

suffer substantial irreparable harm due to the loss of control over its reputation and

loss of consumer goodwill.




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                             CLAIMS FOR RELIEF

   COUNT I: FEDERAL TRADEMARK DILUTION UNDER 15 U.S.C. §
                            1125(c)
                    (Against All Defendants)

      59.    Starbucks repeats and incorporates by reference the allegations

contained in the foregoing paragraphs as if fully set forth herein.

      60.    Starbucks owns all of the rights, interest, and goodwill in the Starbucks

Marks.

      61.    The Starbucks Marks are famous and highly recognizable by the

general consuming public. The Starbucks Marks, or variations thereof, have been

used in commerce since Starbucks was founded over 50 years ago and have a global

reach through Starbucks large number of cafes and presence in grocery stores and

other channels in both the United States and foreign countries, and as illustrated by

the BrandZ study listing Starbucks as the 27th Most Valuable Brand in the World,

and “Restaurants 25” report, which ranked Starbucks as the most valuable restaurant

brand in the world, among other brand rankings.

      62.    Starbucks uses the Starbucks Marks in its retail stores, which sell

coffee, tea, and other food and beverages, as well as Starbucks-branded

merchandise. The Starbucks Marks are also used in Starbucks advertising of its




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products and services, including but not limited to, its website and social media

accounts.

      63.    The Starbucks Marks were famous and widely recognized by the

general consuming public before Defendants’ actions complained of in this action

and no later than 1992 (for both the STARBUCKS word mark and the Siren Logo)

and no later than 2011 (for the 40th Anniversary Logo).

      64.    The Starbucks Marks are distinctive.

      65.    The Accused Marks and use of those marks are nearly identical to the

Starbucks Marks.

      66.    Defendants willfully intended to create an association with the

Starbucks Marks and to capitalize on the success and popularity of the Starbucks

Marks.

      67.    The public has actually associated Defendants’ use of Accused Marks

with Starbucks and the Starbucks Marks.

      68.    Defendants have used the Starbucks Marks, and variations thereof, as

if they were their own, and for their own gain. Upon information and belief,

Defendants’ use of the Starbucks Marks, or variations thereof, has been a

commercial use, including soliciting funds, selling goods, advertising, publicity, and

promotional activities.


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      69.    Defendants have used and continue to use the Starbucks Marks, or

variations thereof, in connection with social media posts regarding the recent attacks

in Israel. Defendants’ use of the Starbucks Marks, or variations thereof, has led and

will continue to lead the general consuming public to falsely associate Defendants

with Starbucks and mistakenly attribute Defendants’ views to Starbucks, including

as evinced by the numerous calls for boycotts against Starbucks.

      70.    Defendants’ actions as described within dilute and are likely to continue

to dilute the Starbucks Marks by blurring and diminishing the distinctive qualities

of those marks.

      71.    Defendants’ actions as described within also tarnish Starbucks hard-

earned reputation, causing harm including in the form of lost business, damage to

reputation, and public backlash.

      72.    Starbucks has no adequate remedy at law.

      73.    Defendants have caused dilution by blurring and dilution by

tarnishment of the Starbucks Marks and willfully intended to trade on the recognition

of the Starbucks Marks. This case is an exceptional case under 15 U.S.C. § 1117(a),

including because of Defendants’ knowing, willful, and bad-faith dilution of the

Starbucks Marks.




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  COUNT II: TRADEMARK DILUTION UNDER IOWA CODE § 548.113
                   (Against All Defendants)

      74.    Starbucks repeats and incorporates by reference the allegations

contained in the foregoing paragraphs as if fully set forth herein.

      75.    The Starbucks Marks are famous, distinctive, and have acquired

secondary meaning among relevant Iowa consumers.

      76.    Without Starbucks authorization or license, and commencing after the

Starbucks Marks became famous, Defendants are making use of the Starbucks

Marks in connection with Defendants’ goods and services in a manner that impairs

the distinctive qualities of, and harms the reputation of, the Starbucks Marks.

      77.    The acts and conduct of Defendants complained herein constitute

dilution of the distinctive quality of the Starbucks Marks by blurring and dilution by

tarnishment in violation of Iowa Code § 548.113.

      78.    On information and belief, Defendants’ acts of dilution and tarnishment

are willful, deliberate, and in bad faith.

   COUNT III: FEDERAL TRADEMARK INFRINGEMENT UNDER 15
                         U.S.C. § 1114
                    (Against All Defendants)

      79.    Starbucks repeats and incorporates by reference the allegations

contained in the foregoing paragraphs as if fully set forth herein.



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      80.    Starbucks is the owner of the federally registered Starbucks Marks

identified herein.

      81.    Defendants’ use of the Starbucks Marks without the authorization or

consent of Starbucks, such as in connection with posting on various social media

accounts, soliciting funds, and selling goods, is likely to cause and has caused

consumer confusion, mistake, or deception as to the source, origin, affiliation, or

endorsement of the products or services offered by Defendants.

      82.    Defendants’ use of the Starbucks Marks as described herein constitutes

infringement of the trademark and service mark rights of Starbucks in its registered

marks under 15 U.S.C. § 1114.

      83.    Upon information and belief, Defendants have profited from the

infringement and have declined to take steps to stop such infringement.

      84.    Upon information and belief, Defendants were aware of the Starbucks

Marks, and Defendants committed trademark infringement willfully and with the

intent to appropriate and trade upon Starbucks previously established goodwill and

reputation associated with the Starbucks Marks.

      85.    This is an exceptional case under 15 U.S.C. § 1117(a), particularly

because Defendants knowingly, willfully, and in bad faith infringed the Starbucks

Marks and have demonstrated a specific intent to infringe.


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      86.    Defendants’ acts have caused and, if allowed to continue, will continue

to cause Starbucks to suffer substantial irreparable harm due to the loss of control

over its reputation and loss of consumer goodwill. Starbucks has no adequate remedy

at law, and greater injury will be inflicted upon Starbucks than Defendants if not

enjoined.

      87.    As a result of the foregoing, Starbucks has suffered, and will continue

to suffer, actual damages.

   COUNT IV: FEDERAL TRADEMARK INFRINGEMENT UNDER 15
                        U.S.C. § 1125(a)
                    (Against All Defendants)

      88.    Starbucks repeats and incorporates by reference the allegations

contained in the foregoing paragraphs as if fully set forth herein.

      89.    Starbucks is the owner and user of the famous and distinctive Starbucks

Marks identified herein, and all common law rights in those marks. Starbucks owns

all rights, interest, and goodwill in the Starbucks Marks.

      90.    Defendants’ use of the Starbucks Marks without the authorization or

consent of Starbucks, such as in connection with posting on various social media

accounts, soliciting funds, and selling goods is likely to cause and has caused

consumer confusion, mistake, or deception as to the source, origin, affiliation, or

endorsement of the products or services offered by Defendants.


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      91.    Defendants’ acts constitute common law trademark infringement, false

designation of origin, and unfair competition in violation of Lanham Act § 43(a), 15

U.S.C. § 1125(a).

      92.    Upon information and belief, Defendants engaged in such acts with the

intent to deceive, mislead, and/or confuse relevant consumers as to whether there

was an affiliation, connection, or association between Defendants and Starbucks.

      93.    Upon information and belief, Defendants’ conduct alleged within has

actually deceived relevant consumers and/or has a tendency to deceive of a

substantial number of actual and/or potential consumers.

      94.    As a result of the foregoing, Starbucks has suffered, and will continue

to suffer, damage, including damage to its reputation and good will.

      95.    This is an exceptional case under 15 U.S.C. § 1117(a), particularly

because Defendants knowingly, willfully, and in bad faith infringed the Starbucks

Marks and have demonstrated a specific intent to infringe.

  COUNT V: TRADEMARK INFRINGEMENT UNDER IOWA CODE §§
                    548.112 and 548.116
                  (Against All Defendants)

      96.    Starbucks repeats and incorporates by reference the allegations

contained in the foregoing paragraphs as if fully set forth herein.




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      97.   Starbucks is the owner of the Starbucks Marks identified herein.

Starbucks owns all rights, interest, and goodwill in the Starbucks Marks.

      98.   Defendants’ use of the Starbucks Marks without the authorization or

consent of Starbucks, such as in connection with posting on various social media

accounts, soliciting funds, and selling goods, is likely to cause and has caused

consumer confusion, mistake, or deception as to the source, origin, affiliation, or

endorsement of the products or services offered by Defendant.

      99.   Defendants’ acts constitute trademark infringement, false designation

of origin, false affiliation, and unfair competition in violation of Iowa Code §§

548.112 and 548.116.

      100. Upon information and belief, Defendants engaged in such acts with the

intent to deceive, mislead, and/or confuse relevant consumers as to whether there

was an affiliation, connection, or association between Defendants and Starbucks.

      101. Upon information and belief, Defendants’ conduct alleged within has

actually deceived relevant consumers and/or has a tendency to deceive of a

substantial number of actual and/or potential consumers.

      102. As a result of the foregoing, Starbucks has suffered, and will continue

to suffer, damage, including damage to its reputation and good will.




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      103. This is an exceptional case under Iowa Code § 548.114 and the

circumstances of this case, particularly because Defendants knowingly and in bad

faith infringed the Starbucks Marks and have demonstrated a specific intent to

infringe.

     COUNT VI: COPYRIGHT INFRINGEMENT 17 U.S.C. § 101 et seq.
                     (Against All Defendants)

      104. Starbucks repeats and incorporates by reference the allegations

contained in the foregoing paragraphs as if fully set forth herein.

      105. At all relevant times, Starbucks has owned, or has had exclusive rights

in, all copyright rights in the Starbucks Works, and has had registrations for each of

those works. As their owner, Starbucks enjoys exclusive rights with respect to the

Starbucks Works, including the exclusive right to reproduce, distribute, display, and

create derivative works of the Starbucks Works.

      106. Defendants have copied, reproduced, adapted, and/or created derivative

works from, and continue to copy, reproduce, adapt, and/or create derivative works

from, the Starbucks Works, without the consent or authorization of Starbucks. As

illustrated above, Defendants’ designs are strikingly or substantially similar to the

copyright-protected material in the Starbucks Works.




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       107. Upon information and belief, Defendants have used the Starbucks

Works, and/or derivative works based on those works, such as in connection with

posting on various social media accounts, soliciting funds, and selling goods.

       108. Defendants’ unauthorized copying, reproducing, displaying, and use of

the materials protected by the Starbucks Works, and/or derivative works based on

those works, without consent or authorization constitutes direct copyright

infringement in violation of the United States Copyright Act, 17 U.S.C. §§ 106 and

501.

       109. Upon information and belief, Defendants have access to the materials

protected by the Starbucks Works and Defendants’ copying is intentional.

       110. Defendants’ copyright infringement has caused, and will continue to

cause, Starbucks irreparable harm. Such conduct has also been willful. As a result,

Starbucks has no adequate remedy at law.

         COUNT VII: CONTRIBUTORY TRADEMARK DILUTION
              (Against SEIU d/b/a Workers United, SBWU)

       111. Starbucks repeats and incorporates by reference the allegations

contained in the foregoing paragraphs as if fully set forth herein.

       112. Defendant SEIU is, on information and belief, directing or controlling

the infringing activities of Defendant Iowa City SBWU, or is benefiting by such acts.



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      113. By reason of the actions aforesaid, the dilution of the Starbucks Marks

by Iowa City SBWU has been directed by, and under the control or authority of,

SEIU. Upon information and belief, SEIU has contributorily diluted or caused the

dilution of the Starbucks Marks, to the detriment of Starbucks. The dilution by Iowa

City SBWU of Starbucks rights in its Starbucks Marks will irreparably harm

Starbucks, have been willful, and will continue unless enjoined by this Court.

Damages and attorneys’ fees are authorized by 15 U.S.C. § 1117. Destruction of

infringing articles is authorized by 15 U.S.C. § 1118.

     COUNT VII: CONTRIBUTORY TRADEMARK INFRINGEMENT
             (Against SEIU d/b/a Workers United, SBWU)

      114. Starbucks repeats and incorporates by reference the allegations

contained in the foregoing paragraphs as if fully set forth herein.

      115. Defendant SEIU is, on information and belief, directing or controlling

the infringing activities of Defendant Iowa City SBWU, or is benefiting by such acts.

      116. By reason of the actions aforesaid, the infringement of the Starbucks

Marks by Iowa City SBWU has been directed by, and under the control or authority

of, SEIU.

      117. Upon information and belief, SEIU has contributorily infringed or

caused the infringement of the Starbucks Marks, to the detriment of Starbucks. The

infringements by Iowa City SBWU of Starbucks rights in its Starbucks Marks will
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irreparably harm Starbucks, have been willful, and will continue unless enjoined by

this Court. Damages and attorneys’ fees are authorized by 15 U.S.C. § 1117.

Destruction of infringing articles is authorized by 15 U.S.C. § 1118.

                             JURY TRIAL DEMAND

      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Starbucks

hereby demands a trial by jury of all issues so triable in this action.

                              PRAYER FOR RELIEF

      WHEREFORE, Starbucks prays for the following relief:

      A.     For judgment that Starbucks federally registered trademarks have been

diluted and infringed, and its federally registered copyrighted works have been

infringed, by Defendants;

      B.     Pursuant to 15 U.S.C. § 1116 and Iowa Code § 548.111, preliminary

and permanent injunctive relief against Defendants and those persons or entities in

active concert or participation with Defendants, including their officers, agents,

servants, employees, attorneys, and representatives, from using the Starbucks

Marks, or imitations of those Marks, in connection with making, using, selling,

offering to sell, importing into these United States, displaying, advertising any goods

or services, or that otherwise is likely to cause confusion or dilution, including but

not limited to (i) using any of the Starbucks registered and common law trademarks


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in any way that dilutes or is likely to dilute any of the Starbucks Marks; (ii) using

any of Starbucks registered and common law trademarks including the Starbucks

Marks in connection with the operation of Defendants’ businesses, social media,

promotional offers, advertising, marketing, or on Defendants’ products; and (iii)

using any trademark, logo, words, or design that tends to falsely represent or is likely

to confuse, mislead, or deceive consumers, purchasers, Defendants’ customers,

prospective customers or any member of the public as to the source, sponsorship,

endorsement, or affiliation of Defendants’ goods or services;

      C.     Pursuant to 17 U.S.C. § 502, preliminary and permanent injunctive

relief against Defendants and those persons or entities in active concert or

participation with Defendants, including their officers, agents, servants, employees,

attorneys, and representatives, from reproducing, making derivative works of,

distributing, or displaying the materials protected by the Starbucks Copyrights or

any substantially similar materials;

      D.     Defendants be ordered, pursuant to 15 U.S.C. § 1116, to file with the

Court and to serve on counsel for Starbucks within ten (10) days after entry of the

judgment herein, a written report under oath setting forth in detail the manner in

which they have complied with the injunction ordered by the Court including a full

accounting that identifies the channels through which they have used the Starbucks


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Marks and Defendants’ distributor(s), reseller(s), account(s), and others to whom

they have purchased or sold equipment, marketing materials, or other goods bearing

the Starbucks Marks;

      E.     Defendants be ordered, pursuant to 15 U.S.C. § 1118 and Iowa Code §

548.114, to deliver up to the Court for destruction or other disposition all labels,

signs, prints, packaging, wrappers, receptacles, and advertisements and promotional

materials infringing or diluting the Starbucks Marks, and all promotional materials,

stickers and other means of making the same;

      F.     Defendant be ordered, jointly and severally, pursuant to 15 U.S.C. §

1117(a) and Iowa Code § 548.114, to pay to Starbucks all damages and all of their

profits from their use of the Starbucks Marks and the sale of the products diluting or

infringing the Starbucks Marks, or products that falsely designate their origin, and

that such damages and profits be enhanced on the basis of their willful infringement

of the federally registered Starbucks Marks;

      G.     Defendants be ordered, jointly and severally, to pay to Starbucks its

attorneys’ fees and the costs and expenses of this action pursuant to 15 U.S.C. §

1117(a), and for trebling of damages pursuant to 15 U.S.C. §§ 1117(a) and

1125(c)(5) and Iowa Code § 548.114;




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        H.    Defendants be ordered, jointly and severally, to pay Starbucks actual

damages, plus the amount of Defendants’ profits attributable to the infringement, 17

U.S.C. § 504(b) and Iowa Code § 548.114, or in the alternative, to pay to Starbucks

statutory damages, as authorized by 17 U.S.C. § 504(c);

        I.    Defendants deliver to be impounded during this suit all print and

electronic copies of the materials protected by the Starbucks Works or their unlawful

derivatives in Defendants’ possession or control as authorized by 17 U.S.C. § 503

and Iowa Code § 548.114;

        J.    Defendants be ordered, jointly and severally, to pay Starbucks, as the

prevailing party, reasonable attorneys’ fees, costs, and expenses pursuant to 17

U.S.C. § 505 and Iowa Code § 548.114;

        K.    Pre-judgment interest at the legally allowable rate on all amounts owed;

and

        L.    Starbucks be awarded such further relief as this Court may deem just

and proper.




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Dated: October 18, 2023                      Respectfully submitted,

OF COUNSEL:                                  /s/ R. Scott Johnson
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             EXHIBIT 1
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Reg. No. 1,542,775         STARBUCKS CORPORATION (WASHINGTON CORPORATION)
                           2401 Utah Avenue South
Registered Jun. 06, 1989   Seattle, WASHINGTON 98134

                           CLASS 43: RESTAURANT SERVICES FEATURING COFFEE AND ESPRESSO
Renewal Term Begins        BEVERAGES AND ALSO SERVING SANDWICHES AND BREAKFASTS
Jun. 06, 2019
                           FIRST USE 10-23-1987; IN COMMERCE 10-23-1987
10 Year                    OWNER OF U.S. REG. NO. 1452329, 1417602
Renewal/Amended
                           No claim is made to the exclusive right to use the following apart from the mark as shown:
Int. Cl.: 43               "COFFEE"

                           SER. NO. 73-701,713, FILED 01-11-1988
Service Mark
Trademark
Principal Register
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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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Reg. No. 1,815,938         STARBUCKS CORPORATION (WASHINGTON CORPORATION)
                           2401 Utah Avenue South
Registered Jan. 11, 1994   Seattle, WASHINGTON 98134

                           CLASS 21: [ hand operated coffee grinders and coffee mills, ] non electric coffee makers,
Amended Jun. 04, 2019      insulated cups, reusable non paper coffee filters, [ beverage stowaways (cup holders for use
                           on car and boat dashboards), ] non paper coasters, thermal insulated bottles, and housewares;
Int. Cl.: 21, 30, 35, 43   namely, coffee cups, non electric coffee pots not of precious metal, cups, mugs, dishes,
                           trivets, and canisters
Service Mark
                           FIRST USE 10-20-1992; IN COMMERCE 10-20-1992
Trademark
                           CLASS 30: ground and whole bean coffee, cocoa, [ tea, ] powdered chocolate [ and powdered
Principal Register         vanilla, muffins, pastries, cookies, breads, granola, and candy; namely, chocolates, chocolate
                           covered coffee beans, chocolate covered cherries, and chocolate covered almonds ]

                           FIRST USE 9-1-1992; IN COMMERCE 9-1-1992

                           CLASS 35: retail store services featuring the above goods as well as decorative magnets, [
                           paper coffee filters, ] and electric appliances; namely, power operated coffee grinders,
                           espresso makers, coffee makers, percolators, and coffee pots; [ distributorship services of all
                           the foregoing goods; ]

                           FIRST USE 8-30-1992; IN COMMERCE 8-30-1992

                           CLASS 43: restaurant and cafe services

                           FIRST USE 8-30-1992; IN COMMERCE 8-30-1992

                           OWNER OF U.S. REG. NO. 1098925, 1372630, 1452359, 1417384, 1417602, 1444549,
                           1542775

                           The mark is lined to indicate the color green. Color is not claimed as a feature of the mark.

                           No claim is made to the exclusive right to use the following apart from the mark as shown:
                           "COFFEE"

                           SER. NO. 74-348,803, FILED 01-15-1993
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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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             EXHIBIT 2
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Reg. No. 1,815,937         STARBUCKS CORPORATION (WASHINGTON CORPORATION)
                           2401 Utah Avenue South
Registered Jan. 11, 1994   Seattle, WASHINGTON 98134

                           CLASS 21: [ hand operated coffee grinders and coffee mills, ] non electric coffee makers,
Amended Jun. 04, 2019      insulated cups, reusable non paper coffee filters, [ beverage stowaways (cup holders for use
                           on car and boat dashboards), ] non paper coasters, thermal insulated bottles, and housewares;
Int. Cl.: 21, 30, 35, 43   namely, coffee cups, non electric coffee pots not of precious metal, cups, mugs, dishes,
                           trivets, and canisters
Service Mark
                           FIRST USE 10-20-1992; IN COMMERCE 10-20-1992
Trademark
                           CLASS 30: ground and whole bean coffee, cocoa, [ tea, ] powdered chocolate [ and powdered
Principal Register         vanilla, muffins, pastries, cookies, breads, granola, and candy; namely, chocolates, chocolate
                           covered coffee beans, chocolate covered cherries, and chocolate covered almonds ]

                           FIRST USE 9-1-1992; IN COMMERCE 9-1-1992

                           CLASS 35: retail store services featuring of all of the above goods as well as decorative
                           magnets, [ paper coffee filters, ] and electric appliances; namely, power operated coffee
                           grinders, espresso makers, coffee makers, percolators, and coffee pots; [ distributorship
                           services of all the foregoing goods; ]

                           FIRST USE 8-30-1992; IN COMMERCE 8-30-1992

                           CLASS 43: restaurant and cafe services

                           FIRST USE 8-30-1992; IN COMMERCE 8-30-1992

                           The mark is lined to indicate the color green. Color is claimed as a feature of the mark.

                           OWNER OF U.S. REG. NO. 1098925, 1372630, 1452359, 1417384, 1417602, 1444549,
                           1542775

                           No claim is made to the exclusive right to use the following apart from the mark as shown:
                           "COFFEE"

                           SER. NO. 74-348,802, FILED 01-15-1993
      Case 3:23-cv-00068-SHL-SBJ Document 2-1 Filed 10/19/23 Page 71 of 226
     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

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     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

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extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
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Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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Reg. No. 2,266,352         STARBUCKS CORPORATION (WASHINGTON CORPORATION)
                           2401 Utah Avenue South
Registered Aug. 03, 1999   Seattle, WASHINGTON 98134

                           CLASS 43: restaurant, cafe and coffee house services
Amended Mar. 03, 2020
                           FIRST USE 10-20-1992; IN COMMERCE 10-20-1992
Int. Cl.: 43
                           The mark consists of the wording "STARBUCKS COFFEE" in a circular seal with two stars,
Service Mark               the color green which is in the nature of emerald green, PMS Color 3425(c), and design of a
                           siren (a two-tailed mermaid) wearing a crown.
Principal Register         OWNER OF U.S. REG. NO. 2035005, 1815938, 1891561, 1452359, 1758589, 1815937,
                           2086615, 1793782, 2030878, 1542775, 2091941, 1098925, 1372630, 1943361, 2028943,
                           2039849, 2047491, 2073104, 1417602, 1893602, 1821547, 2024105, 1444549, 2091940

                           The mark is lined for the color green, and the color green is a feature of the mark.

                           No claim is made to the exclusive right to use the following apart from the mark as shown:
                           "COFFEE"

                           SER. NO. 75-386,496, FILED 11-07-1997
      Case 3:23-cv-00068-SHL-SBJ Document 2-1 Filed 10/19/23 Page 76 of 226
     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
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Requirements in the First Ten Years*
What and When to File:

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     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
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     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

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international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
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Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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             EXHIBIT 4
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Case 3:23-cv-00068-SHL-SBJ Document 2-1 Filed 10/19/23 Page 95 of 226
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             EXHIBIT 5
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              EXHIBIT 6
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                                      STARBUCKS
Reg. No. 1,444,549         STARBUCKS CORPORATION (WASHINGTON CORPORATION)
                           2401 Utah Avenue South
Registered Jun. 23, 1987   Seattle, WASHINGTON 98134

                           CLASS 35: RETAIL STORE SERVICES AND DISTRIBUTORSHIP SERVICES FOR
Amended May 28, 2019       COFFEE, TEA [ AND SPICES ]

Int. Cl.: 35, 43           FIRST USE 3-29-1971; IN COMMERCE 3-29-1971

Service Mark               CLASS 43: COFFEE CAFE SERVICES

Principal Register         FIRST USE 3-29-1971; IN COMMERCE 3-29-1971

                           OWNER OF U.S. REG. NO. 1098925

                           SEC.2(F)

                           SER. NO. 73-540,952, FILED 06-03-1985
     Case 3:23-cv-00068-SHL-SBJ Document 2-1 Filed 10/19/23 Page 114 of 226
     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
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     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

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     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

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Reg. No. 2,073,104         STARBUCKS CORPORATION (WASHINGTON CORPORATION)
                           2401 Utah Avenue South
Registered Jun. 24, 1997   Seattle, WASHINGTON 98134

                           CLASS 35: wholesale supply [ and retail outlets and mail order ] services featuring ground
Amended Apr. 02, 2019      and whole bean coffee, tea, cocoa, coffee and espresso beverages and beverages made with a
                           base of coffee, espresso, and/or milk, powdered flavorings, flavoring syrups, baked goods,
Int. Cl.: 35, 43           including muffins, scones, biscuits, cookies, pastries, cakes and breads, [ and ready-to-make
                           mixes of the same, ] packaged foods, sandwiches and prepared foods, chocolate and
Service Mark               confectionery items, granola, dried fruits, [ spreads, ] juices, soft drinks, electric appliances,
                           namely, kettles, coffee makers, espresso makers and coffee grinders, housewares, non-electric
Principal Register         appliances and related items, namely, [ hand operated coffee grinders and coffee mills, ]
                           insulated coffee and beverage cups (made of plastics and/or ceramics), [ collapsible cup
                           carriers and caddies, non-paper coasters, ] insulated vacuum bottles, coffee cups, tea cups and
                           mugs, glassware, dishes, plates and bowls, trivets, storage canisters, non-electric drip coffee
                           makers and non-electric plunger-style coffee makers, paper [ and non paper ] coffee filters, [
                           furniture, clocks, ] toys, books, [ musical recordings, ] T-shirts, caps, sweatshirts, jackets,
                           aprons and other clothing items; wholesale supply services featuring furniture; mail order
                           services featuring ground and whole bean coffee and tea; [ and for restaurant, cafe and coffee
                           house services *wholesale supply services featuring ground and whole bean coffee, tea,
                           cocoa, coffee and espresso beverages and beverages made with a base of coffee, espresso,
                           and/or milk, powdered flavorings, flavoring syrups, baked goods, including muffins, scones,
                           biscuits, cookies, pastries, cakes and breads, packaged foods, sandwiches and prepared foods,
                           chocolate and confectionery items, granola, dried fruits, juices, soft drinks, electric
                           appliances, namely, kettles, coffee makers, espresso makers and coffee grinders, housewares,
                           non-electric appliances and related items, namely, insulated coffee and beverage cups (made
                           of plastics and/or ceramics), insulated vacuum bottles, coffee cups, tea cups and mugs,
                           glassware, dishes, plates and bowls, trivets, storage canisters, non-electric drip coffee makers
                           and non-electric plunger-style coffee makers, paper coffee filters, toys, books, T-shirts, caps,
                           sweatshirts, jackets, aprons and other clothing items; wholesale supply services featuring
                           furniture; mail order services featuring ground and whole bean coffee and tea; and for
                           restaurant, cafe and coffee house services; ] retail outlets services featuring ground and whole
                           bean coffee, tea, cocoa, coffee and espresso beverages and beverages made with a base of
                           coffee, espresso, and/or milk, flavoring syrups, baked goods, including muffins, scones,
                           biscuits, cookies, pastries, cakes and breads, packaged foods, sandwiches and prepared foods,
                           chocolate and confectionery items, granola, dried fruits, juices, soft drinks, electric
                           appliances, namely, kettles, coffee makers, espresso makers and coffee grinders, housewares,
                           non-electric appliances and related items, namely, insulated coffee and beverage cups (made
                           of plastics and/or ceramics), non-paper coasters, insulated vacuum bottles, coffee cups, tea
                           cups and mugs, glassware, dishes, plates and bowls, trivets, storage canisters, non-electric
                           drip coffee makers and non-electric plunger-style coffee makers, toys, books, musical
                           recordings, T-shirts, caps, sweatshirts, jackets, aprons and other clothing items

                           FIRST USE 8-31-1991; IN COMMERCE 8-31-1991

                           CLASS 43: Restaurant, cafe and coffee house services

                           FIRST USE 8-31-1991; IN COMMERCE 8-31-1991
Case 3:23-cv-00068-SHL-SBJ  Document
                  OWNER OF U.S. REG. NO. 2-1  Filed
                                         1815938,    10/19/23
                                                  1098925,       Page
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                                                                    1891561, of 226 1417602,
                     1815937, 1444549, 1542775

                     SER. NO. 74-705,318, FILED 07-24-1995




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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
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     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
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Requirements in Successive Ten-Year Periods*
What and When to File:

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The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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     Int. Cls.: 30 and 32
     Prior U.S. Cls.: 45, 46, and 48
                                                                 Reg. No. 2,086,615
     United States Patent and Trademark Office                      Registered Aug. 5, 1997


                                   TRADEMARK
                               PRINCIPAL REGISTER



                                       STARBUCKS




     STARBUCKS CORPORATION (WASHINGTON        FOR: COFFEE FLAVORED SOFT DRINKS
       CORPORATION), DBA STARBUCKS COFFEE   AND SYRUPS AND EXTRACTS FOR MAKING
       COMPANY,                             FLA VO RED SOFT DRINKS AND MILK BASED
     2203 AIRPORT WAY SOUTH                 BEVERAGES, IN CLASS 32 (U.S. CLS. 45, 46
     P.O. BOX 34067                         AND 48).
     SEATTLE, WA 981241067                    FIRST USE 7-31-1995; IN COMMERCE
                                            7-31-1995.
       FOR: READY-TO-DRINK COFFEE, READY-
     TO-DRINK COFFEE BASED BEVERAGES, IN     SN 75-975,893, FILED 10-18-1994.
     CLASS 30 (U.S. CL. 46).
       FIRST USE 5-20-1996; IN COMMERCE     ZHALEH    DELANEY,     EXAMINING      ATTOR-
     5-20-1996.                              NEY
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              EXHIBIT 8
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From:                Speaker Requests <speakerrequests@starbucks.com>
Sent:                Monday, October 16, 2023 1:57 PM
To:                  DL-CSS
Subject:             FW: ISRAEL GAZA WAR


Hello!
Michael Haddad advised that this group could take a look at this. Could someone look at the below email received to
Speaker Requests inbox and handle?

Thank you,
Allison

From:                 Redacted
Sent: Saturday, October 14, 2023 11:34 AM
To: Speaker Requests <speakerrequests@starbucks.com>
Subject: RE: ISRAEL GAZA WAR


Ladies and Gentlemen!

I am a long time customer as well as all my family members but i will be
trashing all my starbucks products and shredding gift cards (don't even deserve
to be given away or re-gifting)

The WAR IN ISREAL IS REAL AND YOU IDIOTS SUPPORT HAMMAS THE TERROR
ORGANIZATION THAT KILLS ALL PEOPLE NOT JUST JEWISH PEOPLE BUT ALL
HUMANS.

YOU SHOULD BE ASHAMED OF YOURSELVES FOR NOT STANDING UP FOR ISRAEL!!!
YOUR EXTREMELY EXPENSIVE COFFEE IS BOUGHT BY JEWISH POPULATION 80%
JEWISH COMMUNITIES SUPPORT YOU IDIOTS FINANCIALLY and YOU HAVE THE
NERVE TO ADVACATE FOR PALISTINE!!!!!

BUT IT'S OK BECAUSE!!!!

I WILL MAKE SURE AND I GUARATEE EVERY SOCIAL MEDIA INCLUDING OTHER
COUNTRIES WILL SEE YOUR POSTS DEFENDING PALESTINE aka HAMMAS

YOU ARE NOT ONLY GOING TO CLOSE YOUR SAN FRANCISCO STORES BECAUSE OF CRIME
that you promote and subsidize
BUT YOU WILL ALSO CLOSE ALL OTHER STORES




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From:                 @Starbucks Press <StarbucksPress@edelman.com>
Sent:                 Monday, October 16, 2023 4:36 PM
To:                   DL-SocialCare
Cc:                   @Starbucks Press
Subject:              Fw:


Hi Social Care,

Please see the below customer email for your review.

Thanks,
Minami


Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206‐318‐7100


From:           Redacted
Sent: Monday, October 16, 2023 1:21 PM
To: press@starbucks.com <press@starbucks.com>
Subject:

Email Originated Externally


A
 mother whose family was kidnapped to the Gaza
Strip: "I saw Dafna sitting on a mattress and
crying" For over a week Shimain Tzin has been
waiting for answers about her family who were
kidnapped from Nahal Oz to Gaza. Her ex-husband
Noam Eliakim, who injured
 his leg, and their two daughters Dafna and Ella.
"I demand that they contact me, now, and tell me
what's going on," she says. Along with them,
Eliakim's partner and his 17-year-old son, whose
death was reported yesterday, were also
               Redacted
kidnapped.

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From:               @Starbucks Press <StarbucksPress@edelman.com>
Sent:               Saturday, October 14, 2023 10:08 AM
To:                 DL-SocialCare
Cc:                 @Starbucks Press
Subject:            FW: Anti-Israel Union Members


Hi Social Care,

Please see the below customer comment.


Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206‐318‐7100



‐‐‐‐‐Original Message‐‐‐‐‐
From:                    Redacted
Sent: Saturday, October 14, 2023 6:36 AM
To: press@starbucks.com
Subject: Anti‐Israel Union Members

[Some people who received this message don't often get email from        Redacted         Learn why this is
important at https://aka.ms/LearnAboutSenderIdentification ]

Email Originated Externally


It is noted by all customers what your employees think about unprovoked violence against men, women, children and
babies who were massacred in Israel. Coffee will taste better elsewhere.

Sent from my iPhone




                                                         1
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From:                @Starbucks Press <StarbucksPress@edelman.com>
Sent:                Sunday, October 15, 2023 1:23 AM
To:                  DL-SocialCare
Cc:                  @Starbucks Press
Subject:             FW: BOYCOT


Hi Social Care,

Please see the below customer comment.


Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206‐318‐7100



‐‐‐‐‐Original Message‐‐‐‐‐
From:                         Redacted
Sent: Saturday, October 14, 2023 10:02 PM
To: press@starbucks.com
Subject: BOYCOT

[Some people who received this message don't often get email from             Redacted            . Learn why this is
important at https://aka.ms/LearnAboutSenderIdentification ]

Email Originated Externally


This was the silver lining we all needed as Americans. I hope your company sinks, and fails. Kiss my ass Starbucks!

Signed‐

Millions & millions of Americans




                                                            1
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From:               @Starbucks Press <StarbucksPress@edelman.com>
Sent:               Saturday, October 14, 2023 6:58 PM
To:                 DL-SocialCare
Cc:                 @Starbucks Press
Subject:            FW: boycott Starbucks


Hi Social Care,

Please see the below customer comment.


Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206‐318‐7100



‐‐‐‐‐Original Message‐‐‐‐‐
From:                      Redacted
Sent: Saturday, October 14, 2023 2:06 PM
To: press@starbucks.com
Subject: boycott Starbucks

[Some people who received this message don't often get email from          Redacted            Learn why this is
important at https://aka.ms/LearnAboutSenderIdentification ]

Email Originated Externally


With Starbucks employees issuing a statement on pro‐ palestinean in the aftermath of Hamas brutally murdering 1200
israelis, we will be stopping all our Starbucks purchasing

       Redacted




                                                         1
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From:                @Starbucks Press <StarbucksPress@edelman.com>
Sent:                Friday, October 13, 2023 2:00 PM
To:                  DL-SocialCare
Cc:                  @Starbucks Press
Subject:             FW: Coffee


Hi Social Care,

Please see the below customer email for your review.

Thanks,
Ilaria

Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206‐318‐7100

‐‐‐‐‐Original Message‐‐‐‐‐
From:              Redacted
Sent: Friday, October 13, 2023 1:59 PM
To: press@starbucks.com
Subject: Coffee

[Some people who received this message don't often get email from          Redacted           Learn why this is
important at https://aka.ms/LearnAboutSenderIdentification ]

Email Originated Externally


You stand with Hamas, I buy my coffee elsewhere. Whatever opinion you espouse you will alienate half or more of your
customers. It amazes me you remain in business.

Sent from my iPhone




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From:               @Starbucks Press <StarbucksPress@edelman.com>
Sent:               Sunday, October 15, 2023 12:16 PM
To:                 DL-SocialCare
Cc:                 @Starbucks Press
Subject:            FW: Confused & disappointed


Hi Social Care,

Please see the below customer comment.


Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206‐318‐7100



‐‐‐‐‐Original Message‐‐‐‐‐
From:                  Redacted
Sent: Sunday, October 15, 2023 8:48 AM
To: press@starbucks.com
Subject: Confused & disappointed

[Some people who received this message don't often get email from           Redacted           Learn why this is
important at https://aka.ms/LearnAboutSenderIdentification ]

Email Originated Externally


Good day to you.
First off, was surprised you only have an email for press, but not for customers ( only phone number during bankers
hours. must be nice only having situations during those hours!). But maybe I didn't search hard enough. My SB app sure
didn't help!
I just found out about the pro Hamas position if the SB Union and as a customer who is passionate about your teas and
"goodies" and my niece who loves all drinks and goodies Starbucks, I'm not sure that I can continue to support/ being a
customer of such a position. I'll need to share this info with my neice and friends. I certainly would like to know the
company's official position, I guess. What happened to businesses doing what they are supposed to do? Keep their
noses out of of politics and not expressing opinions.
I look forward to hearing back from you, if possible.
Sincerely, Redacted

Sent from my iPhone




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From:              Investor Relations <InvestorRelations@starbucks.com>
Sent:              Sunday, October 15, 2023 2:59 PM
To:                DL-CSS
Subject:           FW: Does Starbucks support Hammas?




Investor Relations
STARBUCKS COFFEE COMPANY


From:                 Redacted
Sent: Friday, October 13, 2023 7:05 AM
To: Investor Relations <InvestorRelations@starbucks.com>
Subject: Does Starbucks support Hammas?

Please respond and address the below




Sent from my iPhone




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From:                   Jacqui Wetherly <jwetherl@starbucks.com>
Sent:                   Monday, October 16, 2023 3:53 AM
To:                     Starbucks Executive Support
Subject:                FW: Drinking a cup of Starbucks is drinking a cup of Jewish blood




Jacqui Wetherly | Director of Sustainability
Starbucks Coffee Company UK
Building 4 | Chiswick Park | 566 Chiswick High Road | London | W4 5YE
Mobile : +44 7932 745300

      I’m proud to wear the Greener Apron

Please consider the environment before printing this e‐mail




From:                 Redacted
Sent: Monday, October 16, 2023 5:51 AM
To: Jacqui Wetherly <jwetherl@starbucks.com>; rwilliams@starbucks.com
Subject: Fwd: Drinking a cup of Starbucks is drinking a cup of Jewish blood



Date: Mon, 16 Oct 2023 at 7:42
Subject: Drinking a cup of Starbucks is drinking a cup of Jewish blood



https://www.israelnationalnews.com/news/378540?utm source=email&utm medium=social&utm campaign=share
It is with a heavy heart that the Orthodox Jewish Chamber of Commerce, along with our esteemed partners, calls for a
widespread boycott of Starbucks. Opinion.

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From:                @Starbucks Press <StarbucksPress@edelman.com>
Sent:                Saturday, October 14, 2023 10:09 AM
To:                  DL-SocialCare
Cc:                  @Starbucks Press
Subject:             FW: Equating Israel and Hamas


Hi Social Care,

Please see the below customer comment.


Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206‐318‐7100



‐‐‐‐‐Original Message‐‐‐‐‐
From:                  Redacted
Sent: Saturday, October 14, 2023 6:46 AM
To: press@starbucks.com
Subject: Equating Israel and Hamas

[Some people who received this message don't often get email from           Redacted          . Learn why this is
important at https://aka.ms/LearnAboutSenderIdentification ]

Email Originated Externally


My extended family and I are longtime fans of the coffees you brew. But all of us have committed to boycotting our local
SB stores until you apologize for your egregious statement on the terrorist assault on Israel. Please do this: read that
statement, then watch a video of what Hamas did: killing children, killing families, killing hindreds of young people at a
peace concert. As barbaric as ISIS and the Nazis. And they killed many non‐Israelis. Now read that statement again. I love
your products but SB's failure to call out evil‐or to just keep its corporate mouth shut, is beyond the pale. Apologize.

Sent from my iPhone




                                                            1
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From:                 @Starbucks Press <StarbucksPress@edelman.com>
Sent:                 Thursday, October 12, 2023 2:47 PM
To:                   DL-SocialCare
Cc:                   StarbucksPress@edelman
Subject:              FW: Gaza


Hi Social Care,

Please see the below customer email for your review.

Thanks,
Ilaria

Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206‐318‐7100

From:                Redacted
Sent: Thursday, October 12, 2023 2:35 PM
To: press@starbucks.com
Subject: Gaza

Email Originated Externally


Will no longer buy starbucks products due to your support of Palestinian terror!!




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From:                 @Starbucks Press <StarbucksPress@edelman.com>
Sent:                 Friday, October 13, 2023 1:14 PM
To:                   DL-SocialCare
Cc:                   @Starbucks Press
Subject:              FW: Hamas is a Terrorist Organization


Hi Social Care,

Please see the below customer email for your review.

Thanks,
Ilaria

Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206‐318‐7100

From:                      Redacted
Sent: Friday, October 13, 2023 1:07 PM
To: press@starbucks.com
Subject: Hamas is a Terrorist Organization

Email Originated Externally

Hello
Starbucks My name is        Redacted      I'm 36 years old from Carver Minnesota And I heard You Guys Support Hamas
Really????
Hamas is a Terrorist Organization that Kills Innocent Israelis and Palestine 🇵🇸 is a Terrorist State
I will no longer buy at Starbucks Anymore And I Stand with Israel 100%
🇮🇱🇮🇱🇮🇱🇮🇱🇮🇱🇮🇱🇮🇱🇮🇱🇺🇲🇺🇲🇺🇲🇺🇲🇺🇲🇺🇲🇺🇲🇺🇲
    Redacted

Shame on you Starbucks




                                                          1
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From:                 @Starbucks Press <StarbucksPress@edelman.com>
Sent:                 Monday, October 16, 2023 8:57 AM
To:                   DL-SocialCare
Cc:                   @Starbucks Press
Subject:              FW: No longer shopping


Hi Social Care,

Please see the below customer email for your review.

Thanks,
Ilaria

Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206‐318‐7100

From:                      Redacted
Sent: Sunday, October 15, 2023 9:16 PM
To: press@starbucks.com
Subject: No longer shopping

Email Originated Externally

It seems that your employees support the brutal murder and barbaric crimes against jews, therefore, I no longer feel
safe using your products. Saying no to antisemitism.
Red
acte




                                                           1
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From:                @Starbucks Press <StarbucksPress@edelman.com>
Sent:                Friday, October 13, 2023 8:34 AM
To:                  DL-SocialCare
Cc:                  StarbucksPress@edelman
Subject:             FW: Of course in the midst of you supporting terrorists you arenâ€™t taking any emails. Really?


Hi Social Care,

Forwarding the below customer email.

Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206‐318‐7100


‐‐‐‐‐Original Message‐‐‐‐‐
From:                  Redacted
Sent: Thursday, October 12, 2023 8:45 PM
To: press@starbucks.com
Subject: Of course in the midst of you suppor ng terrorists you aren’t taking any emails. Really?

[Some people who received this message don't o en get email from           Redacted       . Learn why this is important at
h ps://aka.ms/LearnAboutSenderIden fica on ]

Email Originated Externally


I will never ever set foot in a Starbucks again and I will get a refund for the auto fill that just happened.
From being cop haters and all other kinds of irra onal crazy views culmina ng in support for terrorists. I can’t believe I
tolerated you this long.

I will get my refund.
I supported you.
But now we know ‐ you are the enemy.
Redacted




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From:                 @Starbucks Press <StarbucksPress@edelman.com>
Sent:                 Thursday, October 12, 2023 3:35 PM
To:                   DL-SocialCare
Cc:                   StarbucksPress@edelman
Subject:              FW: Photo from     Redacted
Attachments:          IMG-20231012-WA0005.jpg


Hi Social Care,

Please see the below customer email for your review.

Thanks,
Ilaria

Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206‐318‐7100

From:               Redacted
Sent: Thursday, October 12, 2023 3:20 PM
To: press@starbucks.com
Subject: Photo from    Redacted


Email Originated Externally

Is this true?

Thank you.

   Redacted
  Redacted
     Redacted




                                                        1
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From:                 @Starbucks Press <StarbucksPress@edelman.com>
Sent:                 Monday, October 16, 2023 8:56 AM
To:                   DL-SocialCare
Cc:                   @Starbucks Press
Subject:              FW: Promotion of rape & murder


Hi Social Care,

Please see the below customer email for your review.

Thanks,
Ilaria

Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206‐318‐7100

From:                  Redacted
Sent: Friday, October 13, 2023 4:16 PM
To: press@starbucks.com
Subject: Promotion of rape & murder

Email Originated Externally

Due to the fact that the Starbucks union is siding with Hamas in solidarity, a group that promotes the destruction of
Christians and Jewish people thru death, rape, and murder, my husband and I will no longer patronize your business and
encourage others to follow suit!

  Redacted




                                                          1
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From:                @Starbucks Press <StarbucksPress@edelman.com>
Sent:                Friday, October 13, 2023 7:49 PM
To:                  DL-SocialCare
Cc:                  @Starbucks Press
Subject:             FW: Recent events


Hi Social Care,

Please see the below customer note.


Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206‐318‐7100



‐‐‐‐‐Original Message‐‐‐‐‐
From:                 Redacted
Sent: Friday, October 13, 2023 2:51 PM
To: press@starbucks.com
Subject: Recent events

[Some people who received this message don't often get email from           Redacted        . Learn why this is important
at https://aka.ms/LearnAboutSenderIdentification ]

Email Originated Externally


Dear Starbucks Company,
I love your coffee‐ especially the blonde roast‐ it reliably gives me the jolt i need w a wonderful flavor.
My daughter loves your cold teas.
My favorite drink is the vegan oat milk one in the summer.
And it's with great disappointment that i inform you i will never, ever buy any product from you again. Neither will my
family. Nor friends. And when we have our giant office meetings, we will no longer be bringing in your boxes.
Your preference to not speak out against your barista union is unconscionable. Knowing i ingested drinks prepared by
baristas without conscience, or morals, who condone‐loudly‐ the killing of innocent civilians because they are Jews,
makes me wish i could eliminate every drink from my body.
Just thought you'd like to know.


Sent from my iPhone




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From:                @Starbucks Press <StarbucksPress@edelman.com>
Sent:                Monday, October 16, 2023 12:19 PM
To:                  DL-SocialCare
Cc:                  @Starbucks Press
Subject:             FW: Shame


Hi Social Care,

Please see the below customer email for your review.

Thanks,
Richie

Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206‐318‐7100


‐‐‐‐‐Original Message‐‐‐‐‐
From:               Redacted
Sent: Monday, October 16, 2023 11:14 AM
To: press@starbucks.com
Subject: Shame

[Some people who received this message don't o en get email from        Redacted        . Learn why this is
important at h ps://aka.ms/LearnAboutSenderIden fica on ]

Email Originated Externally


Shame on you suppor ng Hamas, coﬀee is about coﬀee, never going to be your customer again and I have been loyal for
years

Sent from my iPhone




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    Redacted



Sent from my iPhone




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From:                               @Starbucks Press <StarbucksPress@edelman.com>
Sent:                               Monday, October 16, 2023 5:08 PM
To:                                 DL-SocialCare
Cc:                                 @Starbucks Press
Subject:                            Fw: Starbucks CEO’s response to Israel


Hi Social Care,

Please see the below customer email for your review.

Thanks,
Lauren

Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206-318-7100


From:                 Redacted
Sent: Monday, October 16, 2023 2:00 PM
To: press@starbucks.com <press@starbucks.com>
Subject: Starbucks CEO’s response to Israel

[Some people who received this message don't often get email from             Redacted          . Learn why this is
important at https://aka.ms/LearnAboutSenderIdentification ]

Email Originated Externally


I am saddened and frustrated to report that I will no longer be a Starbucks customer. Upon learning of your company’s
response to the Israeli crisis these past weeks I have no choice but to stop drinking Starbucks and to advise all my friends
and my community to do the same. To support a group of humans who are capable of such atrocities is beyond
incomprehensible to me. Children - toddlers and babies included- brutally and senselessly murdered. What kind of
people do you hire as managers and employees - people who would condone such horrors and sick actions. Your CEO
should be ashamed to not actively speak out to support Israel’s ability to defend themselves. Not good!!
  Redacted

Sent from my iPhone




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Starbucks Media Relations Team




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From:                             @Starbucks Press <StarbucksPress@edelman.com>
Sent:                             Monday, October 16, 2023 11:52 AM
To:                               DL-SocialCare
Cc:                               @Starbucks Press
Subject:                          FW: Starbucks should be ashamed of Yourself. Stand for Justice and Peace


Hi Social Care,

Please see the below customer email for your review.

Thanks,
Richie

Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206-318-7100


-----Original Message-----
From:                 Redacted
Sent: Monday, October 16, 2023 10:46 AM
To: press@starbucks.com
Cc:                Redacted
Subject: Starbucks should be ashamed of Yourself. Stand for Jus ce and Peace

[Some people who received this message don't o en get email from             Redacted           Learn why this is
important at h ps://aka.ms/LearnAboutSenderIden ﬁca on ]

Email Originated Externally


I am a child of a Hollocaust survivor. My moma is a Hollocaust survivor. She is s ll alive and she relives now the horror
of extermina on of the Jewish children, girls and civilians. Do you sleep at night?
If you are blind, if you are silent, you become Irrelevant just like the people who transported us to the death
concentra on camps.
Where is your heart, your soul and your brain? It the terrorist win, You are next. Will you appease them like people
appealed the Nazis to save their own skin? Who will stand with you?
God stands with us, with Israel and with the courageous righteous people.
Should Starbucks become irrelevant?
As Judaism teaches each person is the whole world. You have become irrelevant to my world.




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From:                              @Starbucks Press <StarbucksPress@edelman.com>
Sent:                              Monday, October 16, 2023 2:22 PM
To:                                DL-SocialCare
Cc:                                @Starbucks Press
Subject:                           Fw: Starbucks should be ashamed of Yourself. Stand for Justice and Peace


Hi Social Care,

Please see the below customer email for your review.

Thanks,
Minami

Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206-318-7100


From:                Redacted
Sent: Monday, October 16, 2023 11:13 AM
To: press@starbucks.com <press@starbucks.com>
Subject: Starbucks should be ashamed of Yourself. Stand for Justice and Peace

[Some people who received this message don't often get email from             Redacted           Learn why this is
important at https://aka.ms/LearnAboutSenderIdentification ]

Email Originated Externally


>
> I am a child of a Hollocaust survivor. My Mom is a Hollocaust survivor. She is still alive and she relives now the horror
of extermination of the Jewish children, girls and civilians. Do you sleep at night?
> If you are blind, if you are silent, you become Irrelevant just like the people who transported us to the death
concentration camps.
> Where is your heart, your soul and your brain? It the terrorist win, You are next. Will you appease them like people
appealed the Nazis to save their own skin? Who will stand with you?
> God stands with us, with Israel and with the courageous righteous people.
> Should Starbucks become irrelevant?
> As Judaism teaches each person is the whole world. You have become irreleva




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From:                                @Starbucks Press <StarbucksPress@edelman.com>
Sent:                                Thursday, October 12, 2023 6:44 PM
To:                                  DL-SocialCare
Cc:                                  StarbucksPress@edelman
Subject:                             Fw: Starbucks supporting massacre of children


Hello Social Care, forwarding the below customer email given subject matter.

Thanks,
Lauren

Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206-318-7100


From:             Redacted
Sent: Thursday, October 12, 2023 3:39 PM
To: press@starbucks.com <press@starbucks.com>
Subject: Starbucks supporting massacre of children

[Some people who received this message don't often get email from              Redacted     . Learn why this is
important at https://aka.ms/LearnAboutSenderIdentification ]

Email Originated Externally


I was shocked to see that Starbucks Union had the audacity to support the burning, slaughtering and abductions of
innocent children and women in Israel. I did not expect for your company to have any political stance, as a company that
wants to sell coffee to as many people as possible.
You take a lot of pride by showing that you are using fair trade with coffee but by not standing against murder of
innocent people, you showed how hypocritical you really are.
I expect your company to publish a statement that is not supporting what your union issued. In the meantime, me and
every Israeli will not buy from you. I also promise to do whatever I can to let social media know that you are immoral.
With zero respect

 Redacted
Sent from my iPhone




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From:                            @Starbucks Press <StarbucksPress@edelman.com>
Sent:                            Friday, October 13, 2023 8:01 PM
To:                              DL-SocialCare
Cc:                              @Starbucks Press
Subject:                         FW: Starbucks supports Hamas


Hi Social Care,

Please see the below customer note.


Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206-318-7100



-----Original Message-----
From:                Redacted
Sent: Friday, October 13, 2023 4:41 PM
To: press@starbucks.com
Subject: Starbucks supports Hamas

[Some people who received this message don't often get email from         Redacted         . Learn why this is
important at https://aka.ms/LearnAboutSenderIdentification ]

Email Originated Externally


Starbucks .. u condone baby killing. Hostage taking, kidnapping .Go to hell. Drop dead . Nobody I know will ever spend
a dime there again . Hope u go broke .. u are rotten bastards . Go to hell .

Sent from my iPhone




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Israelis love Starbucks. Huge fans of the brand all over the world.
We expect you to renounce these statements and stand publicly with Israel.
Israel has a right to defend itself.
Attached are some videos and footages of the attack, alongside the workers public support of Hamas.
We expect you to publicly stand with Israel.

Stand with Us.

Thank you🇮🇱🇮🇱🇮🇱

https://fb.watch/nFTysPeEzf/?mibextid=cr9u03




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From:                             Investor Relations <InvestorRelations@starbucks.com>
Sent:                             Friday, October 13, 2023 12:57 PM
To:                               DL-CSS
Subject:                          FW: Stocks




Investor Relations
STARBUCKS COFFEE COMPANY

-----Original Message-----
From:                    Redacted
Sent: Friday, October 13, 2023 7:25 AM
To: Investor Relations <InvestorRelations@starbucks.com>
Subject: Re: Stocks

I just divested another(and my final) $10,000 of Starbucks stock. This 10,000 was in my kids' accounts so it took longer
but I wanted full disclosure. Again, just ask for proof in a reply and I will send it so you know this is legitimate.

> On Oct 13, 2023, at 10:12 AM,                      Redacted                     wrote:
>
> I have just this moment divested $10,000 worth of Starbucks stock because your union stands with Hamas. I will not
invest in Starbucks because you Stand with Terrorists who murder and rape babies. It goes without saying that I (as well
as my extended family and friends) are also boycotting Starbucks as of today, and will instead patronize Dunkin’ and
Nero. I will send you the proof that I just divested if you do not believe me- just ask.




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 To the Starbucks
 13/10/23
            Re: Support for Murder, Massacre and ISIS

  1.The whole world woke up this week to a morning of horror. A
 horrifying massacre
 of women, old children and infants. Unimaginable war crimes when
 Hamas terrorists
 attacked Southern Israel and murdered 1,200 people, the vast
  majority of them civilinas.

  2. In addition, the terrorists kidnapped 200 civilians, including a 85-
 ,year-old lady
 women and children including babies.

 3.The terrorists murdered captives, sexually abused female
 hostages and mutilated corpses.



 4.The State of Israel experienced all this horror in one single day .

 5 . Why did your chose to stand by the Nazis who massacred them
 instead of
 standing by Israel?
 6. Your silence or condemnation of both sides constitutes
 support for the massacre.
 Your decision not to call Hamas a terrorist organization and to
 mention the massacre with quotation marks is support for
 terrorism and evil in the world
 7. History will not forgive you !

                             Shame on you
                               Redacted
                               Redacted
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the original message.




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From:                             @Starbucks Press <StarbucksPress@edelman.com>
Sent:                             Friday, October 13, 2023 7:48 PM
To:                               DL-SocialCare
Cc:                               @Starbucks Press
Subject:                          FW: Update


Hi Social Care,

Please see the below customer note.

Starbucks Media Relations
Email: press@starbucks.com
Hotline: 206-318-7100

-----Original Message-----
From:             Redacted
Sent: Friday, October 13, 2023 3:27 PM
To: press@starbucks.com
Subject: Update

[Some people who received this message don't often get email from           Redacted         . Learn why this is important
at https://aka.ms/LearnAboutSenderIdentification ]

Email Originated Externally


Hey there just letting you know I have been a loyal customer for 20 years and have probably spent tens of thousands of
dollars with a Starbucks corporation or possibly into the six digits. I saw the vile, cowardly Starbucks workers union, who
actively supported terrorism where innocent women, children and babies were slaughtered. I think that’s not a great
look for the corporation and it’s not something I can do business with going forward, so as of now, I and everyone who
will listen to me, is stopping patronizing all Starbucks because of this vile disgustingness. Your move. I hope you enjoy
the massive anti-Starbucks movement that I’m hoping to generate.
Sincerely,
Red
  t




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Language             English
Method               INBOUND
Partner #            PARTNER ANI API FAILED
Partner First Name   PARTNER ANI API FAILED
Partner Job Name     PARTNER ANI API FAILED
Partner Last Name    PARTNER ANI API FAILED
Queue                MediaRelations_PartnerOperator_ENG
Ticket or Case #     New

Transcription:
Hi. Um my name is Red . I live in the UK. I am calling because I've been for many, many, many years, probably over a
decade of an incrediblyt loyal customer of Starbucks, wherever I am in the world, whatever I am doing every single
morning, I go and get my Starbucks coffee and I have been incredibly disappointed by the media coverage surrounding
your stand or at least the stand of the Starbucks Union related to the Hamas attacks. And what I've seen is that you
stand with Hamas or you, that's what the media coverage says. And I haven't seen a strong statement denying that I'm
really upset. I want to know from someone within your company, what the stand is and when you guys plan on actually
releasing information to let people know, I wanna call back and my UK number, my number in the UK is Reda
            Redacted              .                                                                       t d

Regards,

The Contact Center Technology Telephony Team




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From:                                        Redacted
Sent:                          Friday, October 13, 2023 9:12 AM
To:                            Press; Info; Starbucks Executive Support
Subject:                       Fwd: Support for Murder, Massacre and ISIS - SHAME SHAME SHAME
Attachments:                   Shme on You YOU support ISIS Starbucks.pdf




---------- Forwarded message ---------
‫מאת‬:                  Redacted
Date: 14:50 ,2023 ‫ באוק׳‬13 ,‫יום ו׳‬
Subject: Re: Support for Murder, Massacre and ISIS - SHAME SHAME SHAME
To: <kevin.johnson@starbucks.com>




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From:                                               Redacted
Sent:                             Wednesday, October 11, 2023 7:53 PM
To:                               Starbucks Executive Support
Subject:                          Palestine


I just heard a news message that Starbucks is aligning themselves with Palestine against Israel after the brutal death of
many Israelis by Hamas I'm hoping this is not true. What say you?




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From:                                  Redacted
Sent:                             Thursday, October 12, 2023 5:56 AM
To:                               Press EMEA; PRO UK enquiries; MarketingUK; Info; Starbucks Executive Support; Jacqui
                                  Wetherly; rwilliams@starbucks.com; jculver@starbucks.com;
                                  kevin.johnson@starbucks.com
Cc:                                                      Redacted
Subject:                          RE: SUPPORT FOR HAMAS


Hello,

My name is Redacted and I have been a die hard customer of Starbucks for probably the last 15 years. No ma er
where I am in the world, if possible I get to a Starbucks every single day to get my daily dosage of your coﬀee. My friends
and family all know this and I o en get to know all the employees at the local stores. I have always been incredibly loyal
to your brand. My Starbucks account is linked to the email I’m using above, so you can check my purchases for yourself.
However, I have in the last few days no ced media coverage detailing your support of Hamas!!! I have seen signs
showing your solidarity with Hamas which is currently obviously known to be a terrorist group that has butchered,
burned, raped and mu lated over a thousand Israelis in the last few days. They have placed their own civilians in harms
way and could care less if Pales nians die for the cause.

If you are indeed in support of these savage and inhumane animals, please let me know so. If that is the case, it will be
the last me I purchase anything in any of your shops. I will also go on a crazy online marke ng hunt to destroy your
brand. Jews have supported your brand over the last few decades, especially in highly Jewish dominated ci es such as
New York City and Los Angeles. If you care to not see these area plummet in sales, I highly recommend you declare your
support for the innocent people in Israel who are being terrorized by the Hamas TERRORISTS.

I look forward to hearing back immediately and ﬁnding out your stance. Please feel free to call me at     Redacted      .

Regards,
 Redacted




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